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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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BIKASH GC, et al.,                                             :

                                                              :
                          Plaintiffs,                              ORDER FOR CONFERENCE
                                                              :    PURSUANT TO RULE 16
                 -v.-
                                                              :    20 Civ. 1960 (PGG) (GWG)

FLAGSHIP S B AMSTERDAM NY, LLC, et al.,                       :

                           Defendants.                         :
---------------------------------------------------------------x

GABRIEL W. GORENSTEIN
UNITED STATES MAGISTRATE JUDGE

        This action is scheduled for an initial case management conference by telephone pursuant

to Fed. R. Civ. P. 16(a), on Monday, November 2, 2020, at 11:00 a.m. At that time, the parties

shall dial (888) 557-8511 and use access code: 6642374. (The public may also dial in but will be

permitted only to listen.) The Court will record the proceeding for purposes of transcription in

the event a transcript is ordered. However, any other recording or dissemination of the

proceeding in any form is forbidden. As described below, the parties must also file a proposed

scheduling order two business days before the conference date, or October 29, 2020.

        When addressing the Court, counsel must not use a speakerphone.

        Upon receipt of this order, each counsel is directed to confirm with all other counsel that

each party to this proceeding has received a copy of this order.

        In addition, please note that the Federal Rules of Civil Procedure require the parties to

confer before this conference to discuss the matters set forth in Fed. R. Civ. P. 26(f). To fulfill

the requirement of Fed. R. Civ. P. 26(f) that the parties submit a written proposed discovery

plan, the parties shall file two business days before the conference a “Proposed Scheduling
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Order.” The “Proposed Scheduling Order” shall be filed on ECF either as an attachment to a

letter or by itself. The “Proposed Scheduling Order” shall contain the case caption and the

following information:

1.     The appearances for the parties; including the individual attorney’s name, the law firm’s
       name, the party(ies) represented, business address, business phone number, and email.

2.     a concise statement of the issues as they then appear;

3.     a proposed schedule including:

               a.      dates for initial document requests and initial interrogatories;

               b.      a deadline for joining parties or filing amended pleadings;

               c.      the names of non-expert witnesses expected at this time to be deposed (if
                       known) and either specific dates or a timetable for when depositions will
                       take place;

               d.      a date by which all non-expert discovery shall be completed;

               e.      in the event either side contemplates calling an expert witness, (i)
                       anticipated fields of expert testimony; (ii) dates by which the disclosures
                       of the identities and reports of experts required by Rule 26(a)(2) will be
                       made; and (iii) the date by which depositions of experts shall be
                       completed;

               f.      the date by which pretrial motions, if any, will be filed; or, if no such
                       motions are contemplated, the date by which the parties will submit a joint
                       pretrial order in accordance with procedures of the judge before whom the
                       trial will be conducted;1 and

4.     a statement of any limitations to be placed on discovery, including any protective or
       confidentiality orders;

5.     a brief description of any discovery issues, including issues regarding the production of
       electronically stored information, as to which the parties have been unable to reach an
       agreement;


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        This paragraph shall also include the following statement, either in text or in a footnote:
“The parties shall follow the rules of the assigned District Judge with respect to any pre-motion
conference, filing or other requirements for dispositive motions.”

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6.     anticipated length of trial and whether, and by whom, a jury has been requested;

7.     an approximate date or stage of the case when the parties believe it would be most
       helpful to engage in settlement discussions with the assistance of a mediator and whether
       the parties plan to engage a private mediator;

8.     The following paragraph reproduced verbatim:

       “All discovery (including requests for admission and any applications to the Court with
       respect to the conduct of discovery) must be initiated in time to be concluded by the
       deadline for all discovery. Any application for an extension of the time limitations herein
       must be made as soon as the cause for the extension becomes known to the party making
       the application and in accordance with this Court’s Individual Practices. Any application
       not in compliance with this paragraph will be denied. To the extent a party expects to
       produce electronically stored information, the parties shall promptly discuss the protocols
       for the search and review of such material.”

9.     A signature line for the undersigned.

To the extent the parties disagree on the dates or other terms of the proposed schedule, such

disagreement may be noted in the document.

       As explained in the Court’s Individual Practices (posted at:

https://www.nysd.uscourts.gov/hon-gabriel-w-gorenstein), any application for a change in the

date of the conference must be made in a writing sent to the undersigned or filed on ECF

promptly upon learning of the need for the change in date. Prior to making such a request for an

adjournment, the party so requesting should contact the Deputy Clerk ((212) 805-4260) to

determine alternative dates on which the Court is available for a rescheduled court appearance.

The party must then make an application for an adjournment by letter that includes (1) a

statement as to all other parties’ positions on the proposed change in date and (2) a proposal for

an alternative date for the conference (as provided by the Deputy Clerk) for which all parties are

available.




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Dated: New York, New York
       October 27, 2020

                                        SO ORDERED:



                                        ______________________________
                                        GABRIEL W. GORENSTEIN
                                        United States Magistrate Judge




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